1                                                                     Judge: Hon. Thomas W. Dore
                                                                      Chapter 13
2
                                                                      Location: Seattle
3                                                                     Hearing Date: June 1, 2022
                                                                      Hearing Time: 9:30a.m.
4                                                                     Response Date: May 25, 2022

5

6
                                 UNITED STATES BANKRUPTCY COURT
7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
8

9
     In Re:
10                                                        Bankruptcy Case No. 20-12450 TWD
     BEVERLY JANE CARY
11                                                        Adversary Case No. 22-01000-TWD
                                 Debtor
12
     BEVERLY JANE CARY,                                   NOTICE OF MOTION AND HEARING
13
                                                          ON DEFENDANT’S MOTION TO
                                 Plaintiff,               STRIKE PLAINTIFF’S SECOND
14
                        v.                                AMENDED COMPLAINT
15
     PATCH SERVICES, LLC d/b/a NOAH;
16   PATCH HOMES, INC.; FIRST AMERICAN
     TITLE INSURANCE COMPANY LENDERS
17   ADVANTAGE,

18                               Defendants.

19

20            PLEASE TAKE NOTICE that Defendant First American Title Insurance Company

21   Lenders Advantage (“FATIC”)’s Motion to Strike Plaintiff’s Second Amended Complaint

22            IS SET FOR HEARING AS FOLLOWS:

23            JUDGE: Thomas W. Dore                    TIME: 9:30a.m.

24            PLACE: Seattle                           DATE: Wednesday, June 1, 2022

25
     100047/002553/02634490-1
     NOTICE OF MOTION AND HEARING -1                                    LAGERLOF LLP
                                                                     701 PIKE STREET, SUITE 1560
     Case No. 22-01000-TWD                                               SEATTLE, WA 98101
Case 22-01000-TWD               Doc 17-1      Filed 05/02/22   Ent. 05/02/22  17:41:42
                                                                       PHONE: 206-492-2300     Pg. 1 of 3
1             IF YOU OPPOSE the Motion, you must file your written response with the Clerk’s

2    office of the bankruptcy court and deliver copies to the undersigned and all parties NOT

3    LATER THAN THE RESPONSE DATE, which is June 1, 2022. If you file a response,

4    you are also required to appear at the hearing.

5             IF NO RESPONSE IS TIMELY FILED AND SERVED, THE COURT MAY, IN

6    ITS DISCRETION, GRANT THE MOTION PRIOR TO THE HEARING WITHOUT

7    FURTHER NOTICE, AND STRIKE THE HEARING.

8             DATED this 2nd day of May 2022.

9                                                      LAGERLOF LLP
10
                                                       s/ Robert A. Bailey
11                                                     Robert A. Bailey, WSBA No. 28472
                                                       701 Pike Street, Ste 1560
12                                                     Seattle, WA 98101
                                                       Phone: 206-492-2300
13                                                     Email: rbailey@lagerlof.com
                                                       Attorneys for First American Title
14                                                     Insurance Company
15

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25
     100047/002553/02634490-1
     NOTICE OF MOTION AND HEARING -2                                 LAGERLOF LLP
                                                                  701 PIKE STREET, SUITE 1560
     Case No. 22-01000-TWD                                            SEATTLE, WA 98101
Case 22-01000-TWD               Doc 17-1   Filed 05/02/22   Ent. 05/02/22  17:41:42
                                                                    PHONE: 206-492-2300     Pg. 2 of 3
1                                     DECLARATION OF SERVICE

2             I hereby declare under penalty of perjury of the laws of the State of Washington

3    and the United States of America that on this 2nd day of May 2022, I electronically field

4    the foregoing with the Clerk of the Court for the United States District Court, Western

5    District of Washington using the CM/ECF system, which will provide notice to the

6    following parties:
      Melissa A. Huelsman, WSBA No. 30935            [ ] By United States Mail
7     Law Offices of Melissa A. Huelsman, P.S.       [ ] By Legal Messenger
      705 2nd Ave, Suite 606                         [ ] By Email:
8
      Seattle, WA 98104                              mhuelsman@predatorylendinglaw.com
9     Attorney for Plaintiff                         [X] By CM/ECF E-Service

10    Mark McClure, WSBA No. 24393                   [ ] By United States Mail
      Law Offices of Mark McClure, PS                [ ] By Legal Messenger
11    1103 W. Meeker St., Suite 101                  [ ] By Email: mark@mcclurelawgroup.com
      Kent, WA 98032                                 [X] By CM/ECF E-Service
12    Attorney for Plaintiff
13
      Christina L. Henry, WSBA No. 31273             [ ] By United States Mail
14    Henry & Degraaff, PS                           [ ] By Legal Messenger
      119 1st Ave S., Suite 500                      [ ] By Email: chenry@hdm-legal.com
15    Seattle, WA 98104                              [X] By CM/ECF E-Service
      Attorney for Plaintiff
16
      Faye Rasch, WSBA No. 50491                     [ ] By United States Mail
17    Law Office of Faye C. Rasch                    [ ] By Legal Messenger
      600 Stewart St., Suite 1300                    [ ] By Email: fraschlaw@gmail.com
18
      Seattle, WA 98101                              [X] By CM/ECF E-Service
19    Attorney for Defendant Patch Services
      LLC
20
              DATED this 2nd day of May 2022 at Seattle, Washington.
21

22                                                  s/ Karrie L. Blevins
                                                    Karrie L. Blevins, Paralegal
23                                                  Lagerlof LLP
24

25
     100047/002553/02634490-1
     NOTICE OF MOTION AND HEARING -3                                 LAGERLOF LLP
                                                                  701 PIKE STREET, SUITE 1560
     Case No. 22-01000-TWD                                            SEATTLE, WA 98101
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                                                                    PHONE: 206-492-2300     Pg. 3 of 3
